     Case: 1:09-cv-06890 Document #: 14 Filed: 01/06/10 Page 1 of 1 PageID #:25

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.0.3
                                Eastern Division

Lionel Franklin
                                 Plaintiff,
v.                                                   Case No.: 1:09−cv−06890
                                                     Honorable Ronald A. Guzman
Penncro Associates, Inc.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 6, 2010:


         MINUTE entry before Honorable Ronald A. Guzman: Plaintiff having filed a
notice of voluntary dismissal pursuant to Federal Rules of Civil Procedure 41(a)(1)(i), this
action is hereby dismissed with prejudice. Any pending motions or schedules in this case
are stricken as moot.Civil case terminated. Mailed notice(cjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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